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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 SCOTT SEDORE,

        Plaintiff,
                                                                    Case No. 2:17-cv-7
 v.
                                                                    HON. JANET T. NEFF
 DUNCAN MACLAREN,

        Defendant.
 ____________________________/

                                   OPINION AND ORDER

       This is a prisoner civil rights action filed pursuant to 42 U.S.C. § 1983 involving claims

that Defendant, Duncan Maclaren, failed to properly accommodate Plaintiff’s medical disability

in violation of the Eighth Amendment and the Americans with Disability Act (ECF No. 1).

Defendant filed a motion for summary judgment, arguing that Plaintiff failed to exhaust all

available administrative remedies. The matter was referred to the Magistrate Judge, who issued a

Report and Recommendation (R&R), recommending that Defendant’s motion for summary

judgment on the issue of exhaustion be denied. The matter is presently before the Court on

Plaintiff’s objections to the Report and Recommendation.          In accordance with 28 U.S.C.

§ 636(b)(1) and FED. R. CIV. P. 72(b)(3), the Court has performed de novo consideration of those

portions of the Report and Recommendation to which objections have been made. The Court

denies the objections and issues this Opinion and Order.

       Plaintiff raises four objections to the Magistrate Judge’s Report and Recommendation,

despite the fact that the Magistrate Judge found that Defendant failed to meet his summary

judgment burden, i.e., a finding that favors Plaintiff (Pl. Obj., ECF No. 26 at PageID.423-26; R&R,
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ECF No. 23 at PageID.417). An objection to a magistrate judge’s report and recommendation

must “specifically identify the portions of the proposed findings, recommendations, or report to

which objections are made and the basis for such objections.” W.D. Mich. LCivR 72.3(b). The

undersigned’s review is limited to these “portions of the report or specified proposed findings or

recommendations to which [an] objection is made.” Id. Plaintiff’s objections, which merely

reiterate the arguments he made in response to Defendant’s motion for summary judgment (ECF

No. 14), do not specifically identify any portions of the Report and Recommendation. Thus,

Plaintiff has not offered any reviewable objections to the Magistrate’s Report and

Recommendation.

       Accordingly, this Court adopts the Magistrate Judge’s Report and Recommendation as the

Opinion of this Court. Because this action was filed in forma pauperis, this Court certifies,

pursuant to 28 U.S.C. § 1915(a)(3), that an appeal of this decision would not be taken in good

faith. See McGore v. Wrigglesworth, 114 F.3d 601, 610 (6th Cir. 1997), overruled on other

grounds by Jones v. Bock, 549 U.S. 199, 206, 211-12 (2007). Therefore:

       IT IS HEREBY ORDERED that the Objections (ECF No. 26) are DENIED and the

Report and Recommendation of the Magistrate Judge (ECF No. 23) is APPROVED and

ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment (ECF No.

10) is DENIED.

       IT IS FURTHER ORDERED that this Court certifies pursuant to 28 U.S.C. § 1915(a)(3)

that an appeal of this decision would not be taken in good faith.

                                                              /s/ Janet T. Neff
Dated: September 11, 2018
                                                             JANET T. NEFF
                                                             United States District Judge

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